Case 2:17-cV-00198-D.]H Document 2 Filed 10/28/16 Page 1 of 1

.AO 440 (Rev. llo/lZ) Summons in a Civil Action

 

UNlTED STATES DISTRICT CoURT

forthe

Central District of California

CARPENTERS SOUTHWEST ADMINISTRATIVE
CORPORATION, a California non-profit
corporation; and BOARD OF TRUSTEES FGR
THE CARPENTERS SOUTHNEST TRUSTS,

 

P!Qinz§{j”($)
v. , , CRWlAcnmiNo.
H K B Inc*, an Arizona corporatlon, dolng
business as SOUTHWEST INDUSTRIAL RIGGING;
HARRY KENT BAKER, an individual; SCOTT
WILLIAM MILLER, an individual; JAMES
DOUGLAS WILSGN, an individual; and DOES l
through 10, inclusive

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SUMMONS IN A CIVIL ACTION

To: /Dej'endamz name am address/1 H K B inc., an Arizona corporation, doing business as SOUTHVVEST lNDUSTRIAL
RIGGING; HARRY KENT BAKER, an individual; SCOTT WlLLlAl\/l MIS_LER,
an individua§; JAMES DOUGLAS WlLSON, an §ndl\zidual; and DOES l through 103
inclusive

A lawsuit has been filed against youx

Witliin 2l days after service ofthis Summons on you (not counting the day you received it) -» or 60 days ifyou
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. l2 (a)(Z) or (3) -- you must Serve on the plaintiff an answer to the attached complaint or a motion under Rule l2 of
the Federal Rules oi`CiVil Procedure. Tlie answer or motion must be Seryed on the plaintiff or plannist afforney,
whose name and address are: Jodi Siegner, Bar No. 102884

DeCARLO & SHANLEY, a Professional Corporation
533 S. Fremont Avenue, 9th Fioor
l_os Angetes, CA 90071-1706

lfyou fail to respond, judgment by default Will be entered against you fof the relief demanded in the complaint
You alco must file your answer or moiion With die court

CLERK OF C() UR Y`

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